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 7
   Attorneys for Defendant Kohl’s Department Stores, Inc.
 8
 9                                    UNITED STATES DISTRICT COURT
10                                 CENTRAL DISTRICT OF CALIFORNIA
11
12 KATHY DOMINGUEZ, an individual,                    Case No. 2:18-cv-05553-JFW-E
13                       Plaintiff,                   DECLARATION OF LEAD COUNSEL
14                                                    RE COMPLIANCE WITH LOCAL
                         vs.                          RULES GOVERNING ELECTRONIC
15                                                    FILING
   KOHL’S DEPARTMENT STORES, INC.,
16 a corporation; and DOES 1 through 50,
17 inclusive,
18                       Defendants.
19
                                                      Complaint Filed: May 14, 2018
20                                                    Trial Date:      None Set
21
22
23              I, Julie R. Trotter, declare:
24              1.       I am a shareholder with the firm Call & Jensen, APC and counsel for
25 Defendant Kohl’s Department Stores, Inc. I make this declaration in accordance with
26 Local Rules and the Hon. John F. Walter’s Standing Order.
27              2.       I am registered as an “ECF User” and my email address is
28 jtrotter@calljensen.com.
       KOH01-68:2243621_1:7-6-18                 -1-
         DECLARATION OF LEAD COUNSEL RE COMPLIANCE WITH LOCAL RULES GOVERNING ELECTRONIC
                                              FILING
     Case 2:18-cv-05553-JFW-E Document 10 Filed 07/06/18 Page 2 of 2 Page ID #:187



1               3.       I have consented to service and receipt of filed documents by electronic
2 means.
3
4               I declare under penalty of perjury under the laws of the United States of America
5 and the State of California, that the foregoing is true and correct. Executed this 6th day
6 of July 2018, at Newport Beach, California.
7
8                                                /s/ Julie R. Trotter
                                                 Julie R. Trotter
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       KOH01-68:2243621_1:7-6-18                 -2-
         DECLARATION OF LEAD COUNSEL RE COMPLIANCE WITH LOCAL RULES GOVERNING ELECTRONIC
                                              FILING
